AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IME Watchdog, Inc.

VS.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Five Pillars Financial Services LTD, 509 72nd Street,
Brooklyn, NY 11209.

|, Alex Colon, being duly sworn, depose and say that on the 15th day of March, 2023 at 4:30 pm, I:

served a CORPORATION by delivering a true copy of the Subpoena to Appear and Testify at a
Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 with the date and
hour of service endorsed thereon by me, to: John Doe as Supervisor for Five Pillars Financial
Services LTD, at the address of: 509 72nd Street, Brooklyn, NY 11209, and informed said person of the
contents therein, in compliance with state statutes.

Description of Person Served: Age: 40, Sex: M, Race/Skin Color: Middle Eastern, Height: 5’9", Weight:
190, Hair: Light Brown, Glasses: N

| certify that | am over the age of 18 and have no interest in the above action.

oO De A age
STATE OF New York) ( Abe lor EA
COUNTY OF New York) Alex Colo
2104765

Subscribed and Sworn to before me on the 15th day
, 2023 by the affiant who is personally Nicoletti & Harris

101 Avenue of the Americas
\ 9th floor
Ana E\Banche : New York, NY 10013
Z
: 212) 267-6448
Notary Public State of New York (212)
Bronx County Our Job Serial Number: NHI-2023003985

Lic No, 01SA5067260
Commission Expires: October 15, 2026

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UAT TART ATT
AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IME Watchdog, Inc.

vs.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Vito Gelardi, 148 Clay Pit Road, Staten Island, NY 10309.
|, Caswell Bryan, being duly sworn, depose and say that on the 14th day of March, 2023 at 7:08 am, I:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Subpoena to Appear and Testify
at a Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 with the date
and hour of service endorsed thereon by me, to: Vito Gelardi at the address of: 148 Clay Pit Road,
Staten Island, NY 10309, and informed said person of the contents therein, in compliance with state
statutes.

Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United
States of America.

Description of Person Served: Age: 37, Sex: M, Race/Skin Color: White, Height: 6'4", Weight: 175, Hair:
Bald, Glasses: N

| certify that | arn over the age of 18 and have no interest in the above action.

STATE OF New York) “4 j wh e_

COUNTY OF New York) aa Bryan
2104027

Seer es and Sworn to before me on the 14th day
of March, 2023 by the affiant who is personally Nicoletti & Harris
fe to me. 101 Avenue of the Americas

Neh, Paw Vike Lf, Lal aitey New York. NY 10013

“Sreqoi meade 242) 267-6448
Notary Public State of New York (212)
Qualified in Kings County Our Job Serial Number: NHI-2023003994

Lic. # 01ME6434359
Commission Expires: June 6, 2026

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UYU TT
AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IME Watchdog, Inc.

VS.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Safa Abdulrahim Gelardi, 148 Clay Pit Road, Staten
Island, NY 10309.

|, Caswell Bryan, being duly sworn, depose and say that on the 14th day of March, 2023 at 7:10 am, I:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Subpoena to Appear and Testify
at a Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 with the date
and hour of service endorsed thereon by me, to: Safa Abdulrahim Gelardi at the address of: 148 Clay
Pit Road, Staten Island, NY 10309, and informed said person of the contents therein, in compliance with
state statutes.

Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United
States of America.

Description of Person Served: Age: 33, Sex: F, Race/Skin Color: White, Height: 5'5", Weight: 160, Hair:
Dark Brown, Glasses: N

| certify that | am over the age of 18 and have no interest in the above action.

Vi? My

STATE OF New York)

COUNTY OF New York) Caswell Bryan ‘ / Le
2104027 /

Subscribed and Sworn to before me on the 14th day

of March, 2023 by the affiant who is personally Nicoletti & Harris

K nto me. 101 Avenue of the Americas

. In, F 4 9 SLA 9th floor
¢ Lae thy WA Laelo New York, NY 10013

Suegeil M,Mercatio 212) 267-6448
Notary Public State of New York (212)

Qualified in Kings County : .
Lic. #01ME6434359 Our Job Serial Number: NHI-2023003995

Commission Expires: June 6, 2026

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AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IME Watchdog, Inc.

vs.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Thomas Brandon, 555 LincolIn Avenue, Staten Island, NY
10306.

i, Caswell Bryan, being duly sworn, depose and say that on the 14th day of March, 2023 at 9:21 am, |:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Subpoena to Appear and Testify
at a Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 with the date
and hour of service endorsed thereon by me, to: Thomas Brandon at the address of: 238 Princeton
Avenue, Staten Island, NY 10306, and informed said person of the contents therein, in compliance with
state statutes.

Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United
States of America.

Description of Person Served: Age: 34, Sex: M, Race/Skin Color: White, Height: 5'7", Weight: 190, Hair:
Dark Brown, Glasses: N

| certify that | am over the age of 18 and have no interest in the above action.

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a fi ‘ i, ;
STATE OF New York) (- (iA ets
COUNTY OF New York) Caswell Bryan
2104027
Subscribed and Sworn to before me on the 14th day
of March, 2023 by the affiant who is personally Nicoletti & Harris
hown to me. pr 101 Avenue of the Americas
a \ 9th floor
. ” SO Lea f
“< A cS vy Whee Groko New York, NY 10013
uegel / Mercado 212) 267-64
Notary Public State of New York (212) 267-6448
Qualified in Kings County Our Job Serial Number: NHI-2023003996

Lic. # O1ME6434359
Commission Expires: June 6, 2026

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UATE AT
AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IMIE Watchdog, Inc.

VS.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Lumina Systems Inc., 99 Wall Street, Ste 1536, New York,
NY 10005.

|, Alex Colon, being duly sworn, depose and say that on the 14th day of March, 2023 at 1:42 pm, |:
served a CORPORATION by delivering a true copy of the Subpoena to Appear and Testify at a
Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 with the date and
hour of service endorsed thereon by me, to: Mr Evan as Clerk for Lumina Systems Inc., at the address

of: 99 Wall Street, Ste 1536, New York, NY 10005, and informed said person of the contents therein, in
compliance with state statutes.

Description of Person Served: Age: 25, Sex: M, Race/Skin Color: White, Height: 5'10", Weight: 180, Hair:
Black, Glasses: Y

| certify that | am over the age of 18 and have no interest in the above action.

LE a
STATE OF New York) LE tk Cav

COUNTY OF New York) Alex Colon
2104765

Subscribed and Sworn to before me on the 14th day

of March, 2023 by the affiant who is personally Nicoletti & Harris
sro to me 101 Avenue of the Americas
> SAY yr {. i 9th floor
~s See - Ly Cig hQ New York, NY 10013

veg - MEFCaGO 212) 267-6448
Notary Public State of New York (212)
Qualified in Kings County Our Job Serial Number: NHI-2023003989

Lic. # 01ME6434359
Commission Expires: June 6, 2026

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UAT VARTA BT
AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IME Watchdog, Inc.

VS.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Lumina Systems Inc., Registered Agent, Spiegel & Utrera,
P.A. P.C., 45 John Street, Suite 711, New York, NY 10038.

1, Alex Colon, being duly sworn, depose and say that on the 14th day of March, 2023 at 1:20 pm, I:

served a CORPORATION by delivering a true copy of the Subpoena to Appear and Testify at a
Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 with the date and
hour of service endorsed thereon by me, to: Anita Iskenderian as Clerk for Lumina Systems Inc., at the

address of: Registered Agent, Spiegel & Utrera, P.A. P.C., 1 Maiden Lane, 5th Fl, New York, NY
10038, and informed said person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 65, Sex: F, Race/Skin Color: White, Height: 5'6", Weight: 130, Hair:
Dark Brown, Glasses: N

| certify that | am over the age of 18 and have no interest in the above action.

Boe
STATE OF New York) Slee Lon

COUNTY OF New York) Alex Colon
2104765

Subscribed and Sworn to before me on the 14th day

of March, 2023 by the affiant who is personally Nicoletti & Harris

own to me. 101 Avenue of the Americas

9th floor

“< Doge Vv) Woy ko WhO New York, NY 10013

uegel ercado 212) 267-6448
Notary Public State of New York (212)
Qualified in Kings County Our Job Serial Number: NHI-2023003990

Lic. # 01ME6434359
Commission Expires: June 6, 2026

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Case 1:22-cv-01032-PKC-JRC Document 159 Filed 03/16/23 Page 7 of 9 PagelD #: 3394

AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Eastern District of New York

Index Number: 1:22-CV-1032 (PKC) Date Filed:
(JRC)

Plaintiff:
IME Watchdog, Inc.

VS.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on GoDaddy.com, LLC, clo CORPORATION SERVICE
COMPANY, 80 State Street, Albany, NY 12207.

|, Geoffrey Burke, being duly sworn, depose and say that on the 15th day of March, 2023 at 9:50 am, I:
served a REGISTERED AGENT by delivering a true copy of the Subpoena to Appear and Testify at a
Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 to: Cathy
Krieger-Jewell as Litigation Management Specialist of Corporation Service Company, Registered

Agent, at the address of: clo CORPORATION SERVICE COMPANY, 80 State Street, Albany, NY 12207
on behalf of GoDaddy.com, LLC

Description of Person Served: Age: 60, Sex: F, Race/Skin Color: White, Height: 5'2", Weight: 110, Hair:
Gray, Glasses: Y

| certify that | am over the age of 18, have no interest in the above action.

: sblee/?»

Geoffrey Burke
re me on the 15th day Process Server

t who is personally

Subscribed and Sworn to
of March, 2023 by t

known to me. Nicoletti & Harris
eT 101 Avenue Of The Americas
9th Floor

NOTRE Penuie New York, NY 10013

PATRICIA A. BURKE
NOTARY PUBLIC-STATE OF NEW YORK
No. 01BU4922372

Qualified in Albany County AB,

My Commission Expires February 28,

Our Job Serial Number: NHI-2023003992

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Case 1:22-cv-01032-PKC-JRC Document 159 Filed 03/16/23 Page 8 of 9 PagelD #: 3395

AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Eastern District of New York

Index Number: 1:22-CV-1032 (PKC) Date Filed:
(JRC)

Plaintiff:
IME Watchdog, Inc.

vs.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on GoDaddy Corporate Domains, LLC, clo CORPORATION
SERVICE COMPANY, 80 State Street, Albany, NY 12207.

|, Geoffrey Burke, being duly sworn, depose and say that on the 15th day of March, 2023 at 9:50 am, I:

served a REGISTERED AGENT by delivering a true copy of the Subpoena to Appear and Testify at a
Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 and Addendum A
to: Cathy Krieger-Jewell as Litigation Management Specialist of Corporation Service Company,
Registered Agent, at the address of: clo CORPORATION SERVICE COMPANY, 80 State Street,
Albany, NY 12207 on behalf of GoDaddy Corporate Domains, LLC

Description of Person Served: Age: 60, Sex: F, Race/Skin Color: White, Height: 5'2", Weight: 110, Hair:
Gray, Glasses: Y

| certify that | am over the age of 18, have no interest in the above action.

Geoffrey Burke
fore me on the 15th day Process Server

iant who is personally

Subscribed and Swor
of March, 2023 by,

known to me. Nicoletti & Harris
101 Avenue Of The Americas
9th Floor

NOTARY PYBLIC New York, NY 10013

Pea COENEN YORK Our Job Serial Number: NHI-2023003993
NOTARY PUBLIC-STATE OF |

No. 018U4922372

2
Qualified in Albany County oe

My Commission Expires February 28, =.

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AFFIDAVIT OF SERVICE

State of New York County of Eastern United States District Court

Index Number: 1:22-CV-1032 (PKC) (JRC)
Date Filed:

Plaintiff:
IME Watchdog, Inc.

VS.

Defendant:
Gelardi, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris to be served on Anthony Bridda, 80 Gold Street, Apt 5e, New York, NY
10038.

|, Alex Colon, being duly sworn, depose and say that on the 14th day of March, 2023 at 12:47 pm, |:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Subpoena to Appear and Testify
at a Hearing or Trial in a Civil Action and a witness fee check in the amount of $40.00 with the date
and hour of service endorsed thereon by me, to: Anthony Bridda at the address of: 80 Gold Street, Apt
5e, New York, NY 10038, and informed said person of the contents therein, in compliance with state
statutes.

Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United
States of America.

Description of Person Served: Age: 30, Sex: M, Race/Skin Color: White, Height: 5'10", Weight: 210, Hair:
Blonde, Glasses: N

| certify that | am over the age of 18 and have no interest in the above action.

STATE OF New York)

COUNTY OF New York) Alex Colon
2104765
Subscribed and Sworn to before me on the 14th day
of March, 2023 by the affiant who is personally Nicoletti & Harris
Known to me. 101 Avenue of the Americas
“ \ : - 9th floor
S UC ae I Witla New York, NY 10013
Suegeil W Mercado (212) 267-6448
Notary Public State of New York
Qualified in Kings County Our Job Serial Number: NHI-2023003998

Lic. # 01ME6434359
Commission Expires: June 6, 2026

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